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UNIFED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

VITFTORIO AMUSO, )
)
Plaintiff, )
)
}
v. ) Ctvil Action No.: 07-CV-01935
)
U.S. DEPARTMENT OF )
SUSTICE, et al., )
)
Defendant. )

 

DECLARATION OF WILSON J. MOORER

I Wilson 3. Moorer, do hereby declare and state the following:

1. [arm currently a Paralegal Specialist at the Federal Bureau of Prisons, Office of
General Counsel, Freedor of Information Act Section, Washington, D.C. I have been employed
in this position smce April 2003; however, I have been employed with the Bureau of Prisons since
July of 1988. My duties include assisting the Chief, Freedom of Information Act/Privacy Act
Section and Freedom of Information Administrator in the review and possible release of
information requested frora the Bureau of Prisons via the Freedom of Information Act.

2. This supplemental declaration is being provided to the Court to address the Footnote
that was stated in my decliration of August 27, 2008. Within the dectaration, 1 informed the
Court the Bureau of Prisois FOIA Office, Washington, D.C. had not received a referra! from the
Federal Bureau of Investigations (FBI) which they stated was mailed to the Bureau of Prisons.

This is to inform the Court the BOP has received the referral.
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3, On or about A agust 18, 2008, the Bureau of Prisons FOLIA Office, Washington, D.C.
received the 4 page referral of information from the Federal Bureau of Investigations (FBI). The
teferral was logged in anc. assigned FOIA Request Number 2008-10124. See Referral from
Federal Bureau of Investigations to Federal Bureau of Prisons, a true and correct copy of which is
attached here to as Exhib-t A.

4. The BOP Central Office responded to the referral from the FBI on September 18,
2008. A determination was made to release one page of information; however, portions of the
page were redacted pursuant to 5 U.S.C. §552(b)(7)(C) and (b\(7)(F). The remaining 3 pages
of information were witht efd in their entirety. The withholding of the 3 pages of information was
made pursuant to $ U.S.C. §552(b)(7)(C) and (b)(7\(F). See Letter from Federal Bureau of
Prisons to Vittorio Amuso, dated September 18, 2008, a true and correct copy of which is
attached here to as Exhibit B.'

5. A copy of the redacted document, on its face, contain exemptions which detail the
nature of the information ‘withheld pursuant to the provisions of the FOLA. A more detailed
description of the informa:ion withheld could identify the protected material. As described below,
no reasonably segregable 10n-exempt portions were withheld from plaintiff. Accordingly, all

information withheld was 2xempt from disclosure pursuant to a FOLIA

 

‘The Court is advised the 3 pages withheld in their entirety were processed in a response
to FOIA Request 2008-06852 which was addressed in my August 27, 2008 declaration. This
current referral provided t1e one page of information that was not included in the first referral. It
shoutd also be noted that the one additional page of information being provided contains
tedactions that were made by the FBI.
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exemption or was not reasonably segregable because it was so intertwined with protected material
that segregation was not yossible or its release would have revealed the underlying protected
material, Alt documents -vhich relate to plaintiff's requests were processed to achieve maximum
disclosure consistent witt the provisions of the FOIA.

6. Exemption (b}'7)(C) provides for the withholding of records or information compiled
for Jaw enforcement purp>ses which could reasonably be expected to constitute an unwarranted
invasion of personal privacy and Exemption (6)(7)(F), which provides for the withholding of
records or information co npiled for law enforcement purposes which could endanger the lives or
physical safety of an indiv.dual, were used to redact a portion of a Federal Bureau of Investigation
Memorandum that detailed namne of 2 law enforcement documents, if revealed, would have
disclosed the contents of (iocuments. See Federal Bureau of Investigation Memorandum, dated
September 13, 1989, a true and correct copy of which is attached here to as Exhibit C.

7. Exemption (b\(7)(C) and (b)(7)(F) were also used to withhold 3 pages of law
enforcement documents which contained the names, register numbers, locations, FBI numbers,
Social Security numbers, ¢ ates of birth, and organized crime affiliation of inmates incarcerated in
the Federal Bureau of Prisons. If this information was disclosed Plaintiff would have the names of
individuals the BOP has ccnfirmed as being a significant organized crime member. As described

above, no reasonably segregable non-exempt portions were withheld from Plaintiff
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Accordingly, all redacted information was exempt from disclosure pursuant to a FOLA exemption
or was not reasonably sexregable.
1 declare under th: penalty of perjury, pursuant to Title 28 U.S.C. § 1746, the foregoing is
true and correct to the best of my information, knowledge and belief.
Executed this 1d day of September 2008, at Washington, D.C.
“ ing
Wilson 3. M
Paralegal Specialist

Federal Bureau of Prisons
Washington, D.C.
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EXHIBIT

A
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HOOK 10124

U.S. Departatent of Justice

 

Federal Bureau of Investigation
Wasttavon, OC 20535

st 14.2003 *
To: Wanda M. Hunt Chief, FOIA Section eceive
FOlAPrivacy Requests

Federal Bureau 2f Prisons

Department of Justice AUG 18 2008

Room 441, HOLC Building
FOIA/PA Section

Washington. Dr 20534
Lom: Daved MM. Hardy
Sage Record/Informat on Olssemination Section Federal Bureau of Prison

Records Managument Division

 

 

Subject. FOI/PA Reques: of AMUSO, VITTORIO
FBI FOVPA # 4C76768-001 Re: AMUSO, VITTORIO

In connectior wilh review of FBI files responsive to the above request, the following was surfaced:

3 pgs. of an unclassified document which originated with your agency is/are being raferted to you for
direct respons? to the requester. The requester O has 0 has nol been advised of this referral, Please
furnish this Bueau a copy of your disclosure letter to the requester, (See index A}.

31 pg. of an [Bl document(s) contalning information foullined in red) conceming your agency.
4 We will advit.e the requesler to expact a direct response from your agency regarding this matter.

Please review this information and retum the documents to us, making any deletions you deem
appropriate. (See index B).

g class.‘ied document(s) which originated with your agency is/are being referred to you for
direct respons: to the requester. The requester 0 has G has not been advised of thls referral. Please
fumish this Bu.eau a copy of your disclosure letter to the requester, and advise us if the classification
of the documnents(s) changed so [hal we may amend our files, (See index C),

m3 classi ied FBI dacument{s} containing information (oullised in red} canceming your agency.
ci We will advise lhe requester to expect a diracl response from your agency regarding this matter.

4 Please revier, this information making any deletions you deam appropriate, citing the exemption(s)
claimed. Please note, In the event exempilons are claimed J1 wil! ba necessary for your office
to provide a declaration supporting the clalmad axemptions io Federal Programs Attormey,
Charlotte Al-el. Ms. Abel can be reached al 202-307-2332.

3 Please note th: some of the enclosed documents contain deletions made by thls Bureau. The
appropriate exe mplion appears next to tha redacted information. The requester may appeal these
denials by writing to the following address within sixty days of your release: Co-Dlractor, Offica of
Information anc Privacy, U.S. Department of Justice, t425 New York Ave., NW, Sulte 11050,
Washington, D C. 20530-0004. :

4 copy of the requester's initial letter and ciher significant corespondance is enclosed for your
convenience. If you have nny questions concerming this referral, please contact Ann Lindangran ai
(540) 866 4845. The FB) -OIPA number as well as the FBI fila number(s} on the Index Lisling (see reverse)
should be utilized dunng ony consultation with the FBI concerning this referral.

Additional Rama-kg: The above four (4 és are responsive to a civi action iawsuit (O7- $3
Med by Ihe Suber i cT aT Unili T plates istrict eo orth Disinct cf Columbia “The pages conta t! ove Bae}
slamped numbérs AMUSO 45, 46°47. and 4&

Enelosure(s} (4} ( INDEX LISTING ON REVERSE}

INUTIGATION
Case 1:07-cv-01935-RJL Document 22-1 Filed 09/22/08 Page 7 of 12

 

index A:

183-8533-210'x6 (Three responsive Pages with FH! redaclions and a dean copy for your use}

 

 

Index B:

183-8533-2107x6 (1 page-serial cover page}

 

Index G:

 

index D:
 

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EXHIBIT

B
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OT U.S. Department of Jistice

* UH Feder Bureau of Prisons

SEP 18 099
War ergte Pt dard
Vittorio Amuso For Further Inquiry Contact:
Register Number 38740-079 Federal Bureau of Prisons
United States Penitentiary 320 First Street. N.W.
P.O. Box 2068 Room 841, HOLC Building
Inez, KY 41224 Washington, D.c. 20534

Attn: FOIA/Privacy Act Office

RE: Request for [nformation, FOIA Request No, 2008-10124

Pear Mr, Amuse:

Pursuant to vour recent Freedom of Information Act request
to the Federal Bu-r-eau of Investigation (FBI), four (4) pages of
information that originated with the Bureau of Prisons were
referred to this agency for processing and direct response to
you.

After a careful review of this referral, it was discovered
that 3 pages of the referral were previously reviewed and
processed as a part of FOTA Request 2008-06852 which you received
a response to on cune 20, 2008. fhis current referral contains
one additional pace that was not a part of the previous referral.

After a careful review, it has been determined the one
additional page of information is being released to you; however,
portions of the dccument are being redacted pursuant to 5 U.S.C,
$552 (b) (7) (C) and (b) (7) (F). The remaining 3 pages of documents
are not releasable to you and are being withheld in their
entirety. This withholding is being done pursuant to 5 U.S.C.
$552 (b) (7) (C) and (b) (7) (F).

Exemption (b) (7) {C) provide for the Withholding of records
or information comziled for law enforcement purposes which could
reasonably be expected to constitute an unwarranted invasion of
personal privacy.

Exemption (b) '7)(F) provide for the withholding of records
Or information compiled for law enforcement purposes which could
endanger the lives or Physical safety of an individual.
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Vittorio Amuso
FOIA Request No. 2008-10124

Pursuant to 28 C.F.R. $16.9, this denial may be appealed to
the Attorney General by filing a written appeal within sixty days
of the date of th=2 letter denying your request. The appeal
should be address2=d to the Office of Information and Privacy,
U.S. Department of Justice, 1425 New York Ave., NW; Suite 116050,
Washington, D.C. 20530-0001. Both the envelope and the letter of
appeal itself mus: be clearly marked: "Freedom of Information

Act Appeal.”

We trust this information is of assistance to you. If you
have any question; or concerns please contact Wilson J. Moorer,
Paralegal,

       

Wanda M., -
Chief, FOIA/PA Section —

cc: File
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EXHIBIT

Cc
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Op: fdrey
Memorandum

 

  
   
   

To

 

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